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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________
No. 21-3028                                                 September Term, 2020
                                                                      1:21-cr-00040-TNM-4
                                                       Filed On: June 24, 2021
United States of America,

              Appellee

       v.

Christopher Joseph Quaglin,

              Appellant


             ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

       BEFORE:       Henderson, Wilkins, and Rao, Circuit Judges

                                      JUDGMENT

        This appeal was considered on the record from the United States District Court
for the District of Columbia and on the memoranda of law and fact filed by the parties.
The court has determined that the issues presented occasion no need for an opinion.
See D.C. Cir. Rule 36. It is

      ORDERED AND ADJUDGED that the district court’s pretrial detention order
entered on April 16, 2021, be affirmed.

        First, insofar as appellant asserts that the district court erred by not affording due
deference to the release order entered on April 8, 2021 by a magistrate judge of the
District of New Jersey, see United States v. Quaglin, No. 3:21-mj-14005 (D.N.J. Apr. 8,
2021), or by failing to review that release order only for clear error, appellant expressly
consented to the district court’s de novo review of the release order. See United States
v. Harrison, 103 F.3d 986, 992 (D.C. Cir. 1997) (“If there was any error in the trial
court’s instructions to the jury, Harrison invited the error and is therefore barred from
complaining about it on appeal.”); Wagner v. Taylor, 836 F.2d 596, 599 (D.C. Cir. 1987)
(“It has long been settled that on appeal a litigant cannot avail himself of an error that
he induced the court under review to commit.”).
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                 United States Court of Appeals
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                                      ____________
No. 21-3028                                                September Term, 2020

        Next, pretrial detention of appellant was authorized pursuant to 18 U.S.C. §
3142(f)(1)(A), because he has been charged with a crime of violence. Although the
district court did not ultimately resolve the question of whether § 3142(f)(1)(A) applies in
this case, the issue has been raised before both the district court and this court, and
“we can affirm a district court judgment on any basis supported by the record.” See
Smith v. Lanier, 726 F.3d 166, 169 (D.C. Cir. 2016) (quoting Carney v. American
University, 151 F.3d 1090, 1096 (D.C. Cir. 1998)); see also Jennings v. Stephens, 574
U.S. 271, 276 (2015) (“An appellee who does not take a cross-appeal may ‘urge in
support of a decree any matter appearing in the record, although his argument may
involve an attack upon the reasoning of the lower court.’” (quoting United States v.
American Railway Express Co., 265 U.S. 425, 435 (1924)). Appellant is charged with
violating 18 U.S.C. § 111(b) – an offense which is categorically a crime of violence.
See, e.g., Gray v. United States, 980 F.3d 264, 268 (2d Cir. 2020); United States v.
Bullock, 970 F.3d 210, 213 (3d Cir. 2020); United States v. Bates, 960 F.3d 1278, 1285
(11th Cir. 2020); United States v. Kendall, 876 F.3d 1264, 1269 (10th Cir. 2017); United
States v. Taylor, 848 F.3d 476, 492-93 (1st Cir. 2017).

         Finally, appellant has not demonstrated that the district court clearly erred in
finding that no condition or combination of conditions of release would reasonably
assure the safety of any other person and the community. See United States v.
Munchel, 991 F.3d 1273, 1282 (D.C. Cir. 2021). As shown in video recordings and
social media posts proffered by the government, appellant admitted to participating in
violence in furtherance of his political beliefs in the months leading up to January 6,
2021. In addition, prior to January 6, appellant made plans to participate in violent
conduct at the Capitol on that date, and he encouraged others to join him in that
conduct (and to plan for violence and to bring weapons). During the incident itself,
appellant shoved and struck multiple police officers outside the Capitol, and he
discharged MK-9 OC spray at police officers, including directly into the unprotected face
of one officer. Appellant was also on the front line of a group of individuals attempting
to violently force their way inside the Capitol by physically overcoming a defensive line
of police officers. In the aftermath of the incident, appellant posted videos to social
media accounts celebrating his role in the violence. Furthermore, the district court did
not clearly err in concluding that appellant’s social media posts suggest that he is
affiliated with and has communicated with the Proud Boys, many of whose members
have also been indicted for participating in violence on January 6.

       As we explained in Munchel, “those who actually assaulted police officers and
broke through windows, doors, and barricades, and those who aided, conspired with,

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                 United States Court of Appeals
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planned, or coordinated such actions, are in a different category of dangerousness than
those who cheered on the violence or entered the Capitol after others cleared the way.”
Id. at 1284. The district court did not clearly err in weighing appellant’s alleged conduct,
the weight of the evidence, and the nature of the charges, against appellant’s evidence
with respect to his character and community ties, and concluding that appellant would
continue to pose a danger to the community if released given his risk of committing or
advocating violence in support of his political beliefs. See 18 U.S.C. § 3142(g).
Furthermore, insofar as appellant asserts that the district court was required to make
specific findings on the record with respect to the likely effectiveness of the release
conditions imposed by the magistrate judge, the district court complied with the clear
language of 18 U.S.C. § 3142(g) in making its determination of dangerousness, and
appellant has not shown that any further inquiry was required.

        Pursuant to D.C. Circuit Rule 36, this disposition will not be published. The Clerk
is directed to withhold issuance of the mandate herein until seven days after resolution
of any timely petition for rehearing or petition for rehearing en banc. See Fed. R. App.
P. 41(b); D.C. Cir. Rule 41.

                                       Per Curiam


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Daniel J. Reidy
                                                         Deputy Clerk




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